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                         IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

TV TOKYO CORPORATION,                                        )
                                                             )   Case No. 24-cv-9810
        Plaintiff,                                           )
                                                             )    Judge Franklin U. Valderrama
v.                                                           )
                                                             )
THE INDIVIDUALS, CORPORATIONS,                               )
LIMITED LIABILITY COMPANIES,                                 )
PARTNERSHIPS AND UNINCORPORATED                              )
ASSOCIATIONS IDENTIFIED                                      )
ON SCHEDULE A HERETO,                                        )
                                                             )
        Defendants.                                          )

      PLAINTIFF’S NOTICE OF VOLUNTARY DISMISSAL AS TO DEFENDANT NO. 70

        Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiff TV TOKYO
CORPORATION hereby dismisses with prejudice all causes of action in the complaint as to the
Defendant identified below and in Schedule A. No motions are pending relative to this Defendant. Each
party shall bear its own attorney's fees and costs.
        No.      Defendant
        70       Funjoyz

        The respective Defendant has not filed an answer to the complaint or a motion for summary
judgment in this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is
appropriate.
                                                      Respectfully submitted,
Dated: November 12, 2024                              By:    s/Michael A. Hierl
                                                             Michael A. Hierl (Bar No. 3128021)
                                                             William B. Kalbac (Bar No. 6301771)
                                                             Robert P. McMurray (Bar No. 6324332)
                                                             John Wilson (Bar No. 6341294)
                                                             Hughes Socol Piers Resnick & Dym, Ltd.
                                                             Three First National Plaza
                                                             70 W. Madison Street, Suite 4000
                                                             Chicago, Illinois 60602
                                                             (312) 580-0100 Telephone
                                                             (312) 580-1994 Facsimile
                                                             mhierl@hsplegal.com

                                                             Attorneys for Plaintiff
                                                             TV TOKYO CORPORATION
    Case: 1:24-cv-09810 Document #: 32 Filed: 11/12/24 Page 2 of 2 PageID #:2203



                                    CERTIFICATE OF SERVICE

        The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of
Voluntary Dismissal was filed electronically with the Clerk of the Court and served on all counsel of
record and interested parties via the CM/ECF system on November 12, 2024.



                                                          s/Michael A. Hierl
